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‘SENATE JOURNAL 08g

. Upon motion.by Senator Judd, seconded by Senator Mossman, the |
Bill passed ‘First Reading by title, and was advanced one ‘day on the’
talendar for Second Reading. Peg Oe Aas

‘=. Senator Tavares moved for a reconsideration of the action taken;

'~ by the Senate in deferring action on Governor's Mesgage No. 26,-veto-. ©

: ang Sonate Bill No, 178. Seconded by Senator’ Mossman and carried." .

_ Senator C. A, Rice moved that the Bill pass Final Reading, not-..

#7 withstanding the veto of the Governor. Seconded by Senator. Russell,’ -:!

fy.’ and carried, and Senaté Bill No. 178 passed Final Reading onthe fol-
Sy ‘lowing showing of Ayes and Noes: , oO

“ Body? | Ayes: Senators Aki, Akina, Brown, Chillingworth, Desha, Heen,’

hes dig ee Hind, McInerny, Mossman, C. A. Rice, H. W. Rice Russell, Tavares
Bill. No. *~  - and Mr. President. Tofal, 14. - * Bo ’
of said , Noes: Senator Judd. Total, 1. Ss

jay. BP» “ an Senator Russell, for the Committee on Judiciary, presented a re--
eration. i: port (Stand. Com. Rep. No. 384) recommending the passage, with

certain amendments, of House Bill No. 322, which was read by the
Clerk, as follows: sot oy

Honolulu, T, H., April 21, 1927,

on. Robert W. Shingle,
resident of the Senate.

ome or office,
Authorities of. any state or political
és,issue a license to such
2 ‘and substitute in lieu

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“onder Section 6 of the Smal] Arma Act, are excepted: from. he;
provisions of Section 6 of that Act.” . oo ae

4. Delete Section 29 and subatitute in leu thereof, the following

“SECTION 29. Short title. The first seventeen sections of thig
Act are herein referred to as the ‘Small Arms Act’, by which desigss
nation, such sections may be cited,” oe i weg

Respectfully submitted,

CHAS. F. CHILLINGWORTH °

Upon motion by Senator Russell, seconded by Senator Tavares
the report of the Committee was adopted. House Bill No. 822, ag’;
amended, passed Second Reading, and wag advanced one day on thei:
calendar for Third Reading, :

A communication from
the Senatd that the House

~ Bill No. 178 on Final Readi
trary notwithstanding,

Honolulu, T. H., April 21, 1927,

To the Honorable President and
Members of the Senate of the
. Territory of Hawaii,

Gentlemen: I have the honor to inform your Honorable Body
that upon reconsideration of Senate Bill: No, 178, the House this.
day passed the same on Final Reading, the veto of the Governor. to
the contrary notwithstanding. ;

Very respectfully,
JOSEPH ORDENSTEIN
Clerk, House of Representatives,

The communication was received and placed on file. “e

A communication from the House (H. Com. No. 412) informing ° ‘
ent proposed by the Senate to. House «
to by the House of Representatives, was ‘

Honolulu, T, H., April 21, 1927,
. To the Honorable President and

Members of the Senate of the
' ° Territory of Hawaii.

Gentlemen: I have the honor to inform your Honorable Body

